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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

v.                               No. 4:12CR00126-04JLH

MARCUS FAIR

                                          ORDER

      The motion of the United States of America to dismiss the indictment as to Marcus Fair is

GRANTED. Document #77. The pending charges against Fair are hereby dismissed.

      IT IS SO ORDERED this 9th day of May, 2013.




                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
